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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


State Farm Mutual Automobile Insurance                     )
Company,                                                   )
                                                           )
                                  Plaintiff,               )
                                                           )
                    v.                                     )   Case No. 2:14-cv-11521
                                                           )
Warren Chiropractic & Rehab Clinic P.C.,                   )   Hon. Mark A. Goldsmith
John Mousa Mufarreh, D.C.,                                 )
Keith Gover, D.C.,                                         )   Magistrate Judge
Priority Patient Transport LLC,                            )   Mona Majzoub
George Mousa Mufarreh, and                                 )
Sharon Michele Smith,                                      )
                                                           )
                                  Defendants.              )


                   APPEARANCE OF ROSS O. SILVERMAN


      PLEASE TAKE NOTICE that Ross O. Silverman of the law firm Katten

Muchin Rosenman LLP, hereby enters his appearance in this matter as additional

counsel of record for Plaintiff State Farm Mutual Automobile Insurance Company,

and consents to electronic service of all papers in this action. The undersigned

certifies that he is admitted to practice in this Court.


Dated: April 16, 2014
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                             Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 16, 2014, I electronically filed the foregoing

paper with the Clerk of Court using the CM/ECF system which will send

notification to all counsel of record.


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